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              EXHIBIT N
Case 2:24-cv-00170-JHC                                           Document         81-14
                                                                    TAKE ACTION FOR THE PLANET
                                                                                                                      Filed 03/17/25          PLEDGE
                                                                                                                                                             Page 2 of 2
                                                                                                                                                             DONATE




                                                                        Jeanot Muster has a background in engineering, chemistry and molecular
                                                                        biology. For thirteen years, Muster worked in the laboratory of the Institute of
                                                                        Stem Cell and Regenerative Medicine's (ISCRM) Founding Director, Dr. Randall T.
                                                                        Moon, at the University of Washington, serving as his laboratory manager. In this
                                                                        role, he oversaw all daily operations of a large research lab, while maintaining
                                                                        institutional compliance with all regulatory departments involved in the
                                                                        operations of the laboratory. Simultaneously, he pursued studies in Wnt
                                                                        signaling - how manipulation of a cellular pathway affects development and
                                                                        regeneration .

                                                                        During his time in the Moon lab, Muster assumed leadership of the aquatics
                                                                        facility and provided technical support and expertise in the design and
                                                                        implementation of many of its researchers' projects. In 2008, the facility moved
                 JEANOT MUSTER                                          into new space at the UW School of Medicine South Lake Union campus,
                                                                        designed according to Muster's specifications, and in 2017 became the ISCRM
                                                                        Aquatics Core. It is now considered the standard for zebrafish facilities at the
                                                                        University of Washington, and one of the most advanced aquatic facilities ln the
                                                                        world. In addition to his leadership of the lnstitute's Aquatics Core, he has been
                                                                        serving on the UW Institutional Animal Care and Use Committee (IACUC) for
                                                                        nine years, the Seattle Children's Research Institute IACUC for eight years, and
                                                                        served for nearly two years on the UW Institutional Biosafety Committee (IBC).

                                                                        KEY EXPERTISE AREAS

                                                                             Large-scale laboratory and facility operations and management. technical.
                                                                             regulatory and institutional compliance, including expertise on the
                                                                             inclusion of zebrafish in research and grant applications.
                                                                             Zebrafish experimental use and training, including transgenic creation.
                                                                             microsurgery, and complex behavioral analyses.
                                                                             Certified Manager of Animal Resources (CMAR) from the American
                                                                             Association for Laboratory Animal Science.




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                                                   ALAIN ROSTAIN                  REZA OVISSI, Ph.D               LISA MAVES, Ph.D         GREG POTTER, PhD           JEANOTMl
                                                   Executive Director




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